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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES                                 :
                                              :       CRIMINAL ACTION
       v.                                     :
                                              :       No. 09-60-04
DEVON BRINKLEY                                :


                    ORDER TO REDUCE TERM OF IMPRISONMENT

       AND NOW, this 20th day of August 2021, upon consideration of Defendant’s Motion to

Reduce Sentence Under 18 U.S.C. § 3582(c)(1)(A)(i), the Government’s response, and

Defendant’s Supplemental Exhibit, and for the reasons provided in this Court’s Memorandum

dated August 20th, 2021, it is ORDERED that:

       1. The Motion (Document No. 396) is GRANTED.

       2. Brinkley’s term of imprisonment is reduced from 1285 months’ imprisonment to 240

            months’ imprisonment, to be calculated from the date on which he began serving his

            federal sentence and crediting all good conduct time thus far accrued.

       3. Upon his release from custody, Brinkley shall begin serving a period of five years of

            supervised release.

       4. Within twenty-four hours of release, Brinkley shall contact the United States

            Probation Office and shall follow its instructions.



                                              BY THE COURT:

                                              /s/ Berle M. Schiller____________
                                              Berle M. Schiller, J.




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